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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                                ATLANTA DIVISION


    In re: FICKLE, STEPHANIE LEIGH                             §    Case No. 15-58207-JWC
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 05/02/2015. The
    undersigned trustee was appointed on 05/02/2015.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $          30,000.00
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                        0.00
                            Administrative expenses                                      0.00
                            Bank service fees                                          236.42
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $           29,763.58
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 12/30/2015 and the deadline for filing
    governmental claims was 12/30/2015. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $3,750.00. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $3,750.00, for a
    total compensation of $3,750.002. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $107.85 for total expenses
    of $107.852.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 06/29/2021                                     By: /s/ S. Gregory Hays
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                               Form 1
                                                                                                                                                          Exhibit A
                                           Individual Estate Property Record and Report                                                                   Page: 1

                                                            Asset Cases
Case No.:    15-58207-JWC                                                                     Trustee Name:      (300320) S. Gregory Hays
Case Name:         FICKLE, STEPHANIE LEIGH                                                    Date Filed (f) or Converted (c): 05/02/2015 (f)
                                                                                              § 341(a) Meeting Date:       06/09/2015
For Period Ending:         06/29/2021                                                         Claims Bar Date:      12/30/2015

                                      1                               2                      3                      4                    5                     6

                           Asset Description                       Petition/         Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)         Unscheduled        (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                    Values                 Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                   Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                              and Other Costs)

   1*       Vacant lot, less than 1 acre                             12,500.00                        0.00         OA                   30,000.00                           FA
            9832 Georgia Highway 193, Chickamauga, GA. Co-
            owned with non-filing separated spouse. (See
            Footnote)

    2       House (Marital Residence) Title and                             0.00                      0.00                                    0.00                          FA
            Mortgage in Separated Spouse's Name
            In original schedules, Debtor claimed an equitable
            interest in property. Asset removed in amended
            schedules as divorce nor separation agreement has
            been filed creating such interest.

    3       Cash on Hand                                                   20.00                      0.00                                    0.00                          FA

    4       Checking account w/ Wells Fargo,                               30.00                      0.00                                    0.00                          FA
            xxx5082

    5       Household Furniture, Bed, Dining Table,                   2,500.00                        0.00                                    0.00                          FA
            Sofa, Tv

    6       Books, family photos, Compact discs,                          200.00                      0.00                                    0.00                          FA
            Dvds

    7       Clothing and shoes                                            500.00                      0.00                                    0.00                          FA

    8       Costume Jewelry and Wedding                               2,000.00                        0.00                                    0.00                          FA
            Band/Engagement

    9       Equitable Support Obligation owed to                      1,300.00                        0.00                                    0.00                          FA
            Debtor

   10       Equitable Interest in Separated Spouse's                        0.00                 50,000.00                                    0.00                          FA
            401 & other accounts
            In original schedules, Debtor claimed an equitable
            interest in property. Asset removed in amended
            schedules as divorce nor separation agreement has
            been filed creating such interest.

   11       2002 Ford Explorer with 150K miles                        3,500.00                        0.00         OA                         0.00                          FA
            Notice of abandonment filed on 10/1/15, Dkt # 16.

   12       2 dogs                                                         20.00                      0.00         OA                         0.00                          FA
            Notice of abandonment filed on 10/1/15, Dkt # 16.


   12       Assets Totals (Excluding unknown values)                $22,570.00                $50,000.00                             $30,000.00                       $0.00


        RE PROP# 1             Trustee filed adversary # 20-06015 to resolve the post petition transfer of the property. $30k received and property deemed
                               abandoned per settlement agreement approved by Order, Dkt # 38.




 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 12/31/2017                          Current Projected Date Of Final Report (TFR):             06/22/2021 (Actual)



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                                                                                                                    Exhibit A
                                    Individual Estate Property Record and Report                                    Page: 2

                                                     Asset Cases
Case No.:   15-58207-JWC                                         Trustee Name:      (300320) S. Gregory Hays
Case Name:     FICKLE, STEPHANIE LEIGH                           Date Filed (f) or Converted (c): 05/02/2015 (f)
                                                                 § 341(a) Meeting Date:    06/09/2015
For Period Ending:     06/29/2021                                Claims Bar Date:     12/30/2015


                     06/29/2021                                      /s/S. Gregory Hays
                        Date                                         S. Gregory Hays




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                                                                 Form 2                                                                              Exhibit B
                                                                                                                                                     Page: 1
                                                 Cash Receipts And Disbursements Record
Case No.:              15-58207-JWC                                       Trustee Name:                    S. Gregory Hays (300320)
Case Name:             FICKLE, STEPHANIE LEIGH                            Bank Name:                       East West Bank
Taxpayer ID #:         **-***2026                                         Account #:                       ******0365 Checking
For Period Ending:     06/29/2021                                         Blanket Bond (per case limit):   $31,525,000.00
                                                                          Separate Bond (if applicable):   N/A

    1            2                      3                                         4                              5                     6                         7

  Trans.    Check or       Paid To / Received From            Description of Transaction       Uniform       Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                           Tran. Code       $                       $

 12/28/20     {1}      Christopher Fickle                 Purchase of Equity in TN property   1110-000           30,000.00                                           30,000.00
                                                          per Order, Dkt # 38.
 01/29/21              East West Bank                     Bank and Technology Services        2600-000                                      46.47                    29,953.53
                                                          Fees
 02/26/21              East West Bank                     Bank and Technology Services        2600-000                                      44.80                    29,908.73
                                                          Fees
 03/31/21              East West Bank                     Bank and Technology Services        2600-000                                      52.72                    29,856.01
                                                          Fees
 04/30/21              East West Bank                     Bank and Technology Services        2600-000                                      47.85                    29,808.16
                                                          Fees
 05/28/21              East West Bank                     Bank and Technology Services        2600-000                                      44.58                    29,763.58
                                                          Fees

                                            COLUMN TOTALS                                                         30,000.00                 236.42               $29,763.58
                                                   Less: Bank Transfers/CDs                                            0.00                   0.00
                                            Subtotal                                                              30,000.00                 236.42
                                                   Less: Payments to Debtors                                                                  0.00

                                            NET Receipts / Disbursements                                         $30,000.00                $236.42




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                   ! - transaction has not been cleared
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                                                       Form 2                                                               Exhibit B
                                                                                                                            Page: 2
                                       Cash Receipts And Disbursements Record
Case No.:           15-58207-JWC                             Trustee Name:                  S. Gregory Hays (300320)
Case Name:          FICKLE, STEPHANIE LEIGH                  Bank Name:                     East West Bank
Taxpayer ID #:      **-***2026                               Account #:                     ******0365 Checking
For Period Ending: 06/29/2021                                Blanket Bond (per case limit): $31,525,000.00
                                                             Separate Bond (if applicable): N/A

                                       Net Receipts:          $30,000.00
                            Plus Gross Adjustments:                 $0.00
                           Less Payments to Debtor:                 $0.00
                 Less Other Noncompensable Items:                   $0.00

                                         Net Estate:          $30,000.00




                                                                                                NET                    ACCOUNT
                                 TOTAL - ALL ACCOUNTS                     NET DEPOSITS     DISBURSEMENTS               BALANCES
                                 ******0365 Checking                            $30,000.00          $236.42                $29,763.58

                                                                               $30,000.00                    $236.42        $29,763.58




                 06/29/2021                                          /s/S. Gregory Hays
                    Date                                             S. Gregory Hays




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                                                           Exhibit C
                                             Analysis of Claims Register
                                Case:15-58207-JWC                       STEPHANIE LEIGH FICKLE
                                                                                   Claims Bar Date: 12/30/15


 Claim                Claimant Name/                   Claim Type/                   Amount Filed/        Paid          Claim
                                                                       Claim Ref
  No.               <Category>, Priority                Date Filed                     Allowed          to Date        Balance

ADM1     S. Gregory Hays                              Administrative                        $3,750.00          $0.00     $3,750.00
         3343 Peachtree Road, NE
                                                      12/30/20                              $3,750.00
         East Tower, Suite 200
         Atlanta, GA 30326
         <2100-000 Trustee Compensation>
         , 200

ADM2     S. Gregory Hays                              Administrative                         $107.85           $0.00       $107.85
         3343 Peachtree Road, NE
                                                      12/30/20                               $107.85
         East Tower, Suite 200
         Atlanta, GA 30326
         <2200-000 Trustee Expenses>
         , 200

ADM3     Arnall Golden Gregory LLP                    Administrative                      $13,195.75           $0.00    $13,195.75
         Attn: Michael Bargar
                                                      01/05/21                            $13,195.75
         171 17th Street NW Ste 2100
         Atlanta, GA 30363-1031
         <3210-000 Attorney for Trustee Fees (Other
         Firm)>
         , 200

ADM4     Arnall Golden Gregory LLP                    Administrative                         $110.10           $0.00       $110.10
         Attn: Michael Bargar
                                                      01/05/21                               $110.10
         171 17th Street NW Ste 2100
         Atlanta, GA 30363-1031
         <3220-000 Attorney for Trustee Expenses
         (Other Firm) >
         , 200

ADM5     Hays Financial Consulting, LLC               Administrative                        $2,010.00          $0.00     $2,010.00
         2964 Peachtree Road, NW
                                                      01/05/21                              $2,010.00
         Suite 555
         Atlanta, GA 30305
         <3310-000 Accountant for Trustee Fees
         (Trustee Firm)>
         , 200

ADM6     Hays Financial Consulting, LLC            Administrative                             $97.29           $0.00        $97.29
         2964 Peachtree Road, NW
                                                   01/05/21                                   $97.29
         Suite 555
         Atlanta, GA 30305
         <3320-000 Accountant for Trustee Expenses
         (Trustee Firm)>
         , 200



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                                                           Exhibit C
                                                 Analysis of Claims Register
                                Case:15-58207-JWC                       STEPHANIE LEIGH FICKLE
                                                                                   Claims Bar Date: 12/30/15

 Claim                 Claimant Name/                  Claim Type/                   Amount Filed/        Paid          Claim
                                                                       Claim Ref
  No.                <Category>, Priority               Date Filed                     Allowed          to Date        Balance

ADM7     Clerk, United States Bankruptcy Court        Administrative                         $350.00           $0.00       $350.00
         1340 Russell Federal Building
                                                      01/05/21                               $350.00
         75 Ted Turner Drive, SW
         Atlanta, GA 30303
         <2700-000 Clerk of the Court Fees>
         , 200
         Per Order, Dkt # 41. Deferred Filing Fee for Adversary 20-ap-6015.
1        PYOD, LLC its successors and assigns as      Unsecured                             $5,149.05          $0.00     $5,149.05
         assignee of Citibank, N.A.
                                                      10/07/15                              $5,149.05
         PO Box 19008
         Greenville, SC 29602
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         Sears/CBNA
2        PYOD, LLC its successors and assigns as      Unsecured                             $8,115.57          $0.00     $8,115.57
         assignee of Citibank, N.A.
                                                      10/07/15                              $8,115.57
         PO Box 19008
         Greenville, SC 29602
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

3        Ashley Funding Services, LLC its successors Unsecured                                $70.53           $0.00        $70.53
         and assigns as assignee of Laboratory
                                                     10/07/15                                 $70.53
         Corporation of America Holdings
         PO Box 10587
         Greenville, SC 29603-0587
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

4        Ashley Funding Services, LLC its successors Unsecured                                $47.01           $0.00        $47.01
         and assigns as assignee of Laboratory
                                                     10/07/15                                 $47.01
         Corporation of America Holdings
         PO Box 10587
         Greenville, SC 29603-0587
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                                                        Exhibit C
                                            Analysis of Claims Register
                                Case:15-58207-JWC                   STEPHANIE LEIGH FICKLE
                                                                               Claims Bar Date: 12/30/15

 Claim                Claimant Name/                 Claim Type/                 Amount Filed/        Paid          Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed          to Date        Balance

5        Ashley Funding Services, LLC its successors Unsecured                            $26.96           $0.00        $26.96
         and assigns as assignee of Laboratory
                                                     10/07/15                             $26.96
         Corporation of America Holdings
         PO Box 10587
         Greenville, SC 29603-0587
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610


                                                                                      Case Total:          $0.00    $33,030.11




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                                    TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                               Exhibit D


    Case No.: 15-58207-JWC
    Case Name: STEPHANIE LEIGH FICKLE
    Trustee Name: S. Gregory Hays

                                                      Balance on hand:       $                              29,763.58

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                         Claim        Allowed            Interim          Proposed
  No.                                                      Asserted        Amount           Payments            Payment
                                                                           of Claim           to Date


                                                         None


                                                   Total to be paid to secured creditors:       $                   0.00
                                                   Remaining balance:                           $              29,763.58

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                           Total            Interim          Proposed
                                                                         Requested          Payments            Payment
                                                                                              to Date

  Trustee, Fees - S. Gregory Hays                                           3,750.00                0.00        3,750.00
  Accountant for Trustee, Fees - Hays Financial Consulting, LLC             2,010.00                0.00        2,010.00
  Accountant for Trustee, Expenses - Hays Financial Consulting, LLC              97.29              0.00           97.29
  Charges, U.S. Bankruptcy Court                                              350.00                0.00          350.00
  Trustee, Expenses - S. Gregory Hays                                         107.85                0.00          107.85
  Attorney for Trustee Fees (Other Firm) - Arnall Golden Gregory LLP       13,195.75                0.00       13,195.75
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden Gregory          110.10                0.00          110.10
  LLP
                        Total to be paid for chapter 7 administrative expenses:                 $              19,620.99
                        Remaining balance:                                                      $              10,142.59

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                     Total             Interim           Proposed
                                                                       Requested         Payments          Payment

                                                         None


                      Total to be paid for prior chapter administrative expenses:               $                   0.00
                      Remaining balance:                                                        $              10,142.59




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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

            Allowed priority claims are:
  Claim       Claimant                             Allowed Amount          Interim Payments             Proposed
  No.                                                     of Claim                   to Date             Payment

                                                        None


                                                     Total to be paid for priority claims:      $            0.00
                                                     Remaining balance:                         $       10,142.59

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $13,409.12 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 75.6 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount          Interim Payments             Proposed
  No.                                                     of Claim                   to Date             Payment

  1           PYOD, LLC its successors and                  5,149.05                     0.00            3,894.72
              assigns as assignee of Citibank,
              N.A.
  2           PYOD, LLC its successors and                  8,115.57                     0.00            6,138.58
              assigns as assignee of Citibank,
              N.A.
  3           Ashley Funding Services, LLC its                 70.53                     0.00                  53.35
              successors and assigns as
              assignee of Laboratory
              Corporation of America Holdings
  4           Ashley Funding Services, LLC its                 47.01                     0.00                  35.56
              successors and assigns as
              assignee of Laboratory
              Corporation of America Holdings
  5           Ashley Funding Services, LLC its                 26.96                     0.00                  20.38
              successors and assigns as
              assignee of Laboratory
              Corporation of America Holdings
                          Total to be paid for timely general unsecured claims:                 $       10,142.59
                          Remaining balance:                                                    $            0.00




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           Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
    paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
    have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
    applicable).
           Tardily filed general (unsecured) claims are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                        Total to be paid for tardily filed general unsecured claims:         $                 0.00
                        Remaining balance:                                                   $                 0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                                                 Total to be paid for subordinated claims: $                   0.00
                                                 Remaining balance:                        $                   0.00




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